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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                §
                                                          §
    HIGHLAND CAPITAL                                      §    Chapter 11
    MANAGEMENT, L.P.                                      §
                                                          §    Case No. 19-34054-sgj11
              Reorganized Debtor.                         §

     HUNTER MOUNTAIN INVESTMENT TRUST’S AMENDED NOTICE OF APPEAL

             Pursuant to 28 U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001-8002,

Appellant/Movant Hunter Mountain Investment Trust (“HMIT”), both in its individual capacity

and derivatively on behalf of the Reorganized Debtor, Highland Capital Management, L.P., and

the Highland Claimant Trust, 1 appeals to the United States District Court for the Northern District

of Texas, Dallas Division, from this Court’s August 25, 2023 Memorandum Opinion and Order

Pursuant to Plan “Gatekeeper Provision” and Pre-Confirmation “Gatekeeper Orders”: Denying

Hunter Mountain Investment Trust’s Emergency Motion for Leave to File Verified Adversary

Proceeding (Docs. 3903-3904) (attached to this notice as Exhibits 1 and 2) (the “Final Order”),

and all associated interlocutory orders or decisions that merged into or preceded the Final Order,

including but not limited to the following:

      •      March 31, 2023 Order Denying Application for Expedited Hearing (Doc. 3713)
             (attached to this notice as Exhibit 3);

      •      May 11, 2023 Order Fixing Briefing Schedule and Hearing Date with Respect to
             Hunter Mountain Investment Trust’s Emergency Motion for Leave to File Verified
             Adversary Proceeding as Supplemented (Doc. 3781) (attached to this notice as
             Exhibit 4);




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  And, in all capacities and alternative derivative capacities asserted in HMIT’s Emergency Motion for Leave to File
Verified Adversary Proceeding [Bankr. Dkt. Nos. 3699, 3815, and 3816] (“Emergency Motion”), and the supplement
to the Emergency Motion [Bankr. Dkt. No. 3760] and the draft Complaint attached to the same [Bankr. Dkt. No. 3760-
1].

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   •   May 24, 2023 Order Pertaining to the Hearing on Hunter Mountain Investment
       Trust’s Motion for Leave to File Adversary Proceeding (Doc. 3790) (attached to
       this notice as Exhibit 5);

   •   May 26, 2023 Order Regarding Hunter Mountain Investment Trust’s Emergency
       Motion for Expedited Discovery Or, Alternatively, For Continuance of the June 8,
       2023 Hearing (Doc. 3800) (attached to this notice as Exhibit 6);

   •   Evidentiary and other oral rulings, including but not limited to rulings associated
       with expert testimony, made at the June 8, 2023 Hearing;

   •   June 16, 2023 Memorandum Opinion and Order Granting Joint Motion to Exclude
       Expert Evidence (Doc. 3853) (attached to this notice as Exhibit 7); and,

   •   July 5, 2023 Order Striking HMIT’s Evidentiary Proffer Pursuant to Rule 103(a)(2)
       and Limiting Briefing (Doc. 3869), including the appended email ruling (attached
       to this notice as Exhibit 8).

   The names of all other parties to the orders and decisions appealed from and their respective

counsel are as follows:

   •   Appellant/Movant HMIT, represented by:

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   •   Appellees/Non-movants Highland Capital Management, L.P., and the Highland Claimant
       Trust, represented by:

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       Jeffrey N. Pomerantz

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   •   Appellees/Non-movants Muck Holdings, LLC, Jessup Holdings LLC, Farallon Capital
       Management, L.L.C., and Stonehill Capital Management LLC, represented by:




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Dated: September 12, 2023                          Respectfully Submitted,

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                                                       Attorneys for Hunter Mountain
                                                       Investment Trust

                               CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing document was served via ECF notification on
September 12, 2023, on all parties receiving electronic notification.

                                            /s/ Sawnie A. McEntire
                                            Sawnie A. McEntire

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